        CASE 0:18-cv-02771-ECT-ECW Doc. 18 Filed 09/19/19 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Noah J. McCourt,                                Court File No. 18-cv-2771 (ECT/ECW)

              Plaintiff,
                                                     STIPULATION OF DISMISSAL
 vs.                                                          WITH PREJUDICE

 City of Chanhassen,

               Defendant.


       WHEREFORE, the above-entitled action against Defendant City of Chanhassen

(“City”), having been fully compromised and settled, IT IS HEREBY STIPULATED by

and between the parties thereto through their undersigned attorneys that:

       1.    The above-entitled action against the City may be, and hereby is, dismissed

with prejudice and without costs or disbursements to any of the parties; and

       2.    Without further notice, a Judgment of Dismissal with prejudice and without

costs or disbursements to any of the parties may be entered herein.



 Date: September 4, 2019                   s/ Padraigin L. Browne
                                           Padraigin L. Browne (MN ID #389962)
                                           Browne Law, LLC
                                           8530 Eagle Point Blvd., Suite 100
                                           Lake Elmo, MN 55042
                                           Telephone: 612-293-4805
                                           paddy@brownelawllc.com

                                           Attorney for Plaintiff
      CASE 0:18-cv-02771-ECT-ECW Doc. 18 Filed 09/19/19 Page 2 of 2




Date: September 4, 2019           s/ Hannah G. Felix
                                  Hannah G. Felix (#0395562)
                                  LEAGUE OF MINNESOTA CITIES
                                  145 University Avenue West
                                  St. Paul, MN 55103
                                  Telephone: 651-281-1235
                                  Facsimile: 651-281-1298
                                  hfelix@lmc.org

                                  Attorney for Defendant City of Chanhassen
